Case 3:25-cv-00885-JLS-BLM       Document 8-11       Filed 04/17/25   PageID.1083   Page
                                        1 of 3



 1   TROUTMAN PEPPER LOCKE LLP
 2   Regina J. McClendon (SBN 184669)
     regina.mcclendon@troutman.com
 3   Meagan S. Tom (SBN 273489)
 4   meagan.tom@troutman.com
     Three Embarcadero Center, Suite 800
 5   San Francisco, CA 94111
 6   Telephone: (415) 477-5700
     Fax: (415) 477-5710
 7
     Attorneys for Defendant
 8
     LPP Mortgage, Inc. f/k/a LPP Mortgage Ltd.
 9

10                           UNITED STATES DISTRICT COURT
11                        SOUTHERN DISTRICT OF CALIFORNIA
12

13   KLARA GIANNA GALLUSZ,                       )    CASE NO.: 3:25-cv-00885-JLS-BLM
14                                               )
                               Plaintiff,        )
15
                                                 )    REQUEST FOR JUDICIAL NOTICE
16         vs.                                   )    IN SUPPORT OF LPP MORTGAGE,
                                                 )    INC.’S OPPOSITION TO
17
     LPP MORTGAGE, INC. F/K/A LPP                )    EMERGENCY EX PARTE
18   MORTGAGE LTD.,                              )    APPLICATION FOR TEMPORARY
                                                 )    RESTRAINING ORDER
19
                               Defendants.       )
20                                               )    Complaint Filed: April 10, 2025
                                                 )
21

22          Defendant LPP Mortgage, Inc. f/k/a LPP Mortgage Ltd. (“Defendant”)

23   respectfully requests that, pursuant to Federal Rules of Evidence, Rule 201, the Court

24   take judicial notice of the following evidence, in support of its concurrently filed

25   Opposition to Emergency Ex Parte Application for Temporary Restraining Order.

26         1.     Attached as Exhibit 1 is a true and correct copy of the Deed of Trust

27   recorded in the San Diego County Recorder’s Office on December 22, 2005, as

28   document number 2005-1098367.

                                                 1
         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF LPP’S OPPOSITION TO EMERGENCY EX PARTE
     144561847v.1
                        Gallusz v. LPP Mortgage, Inc., Case No. 3:25-cv-00885-JLS-BLM
Case 3:25-cv-00885-JLS-BLM      Document 8-11       Filed 04/17/25   PageID.1084   Page
                                       2 of 3



 1         2.     Attached as Exhibit 2 is a true and correct copy of the Assignment of
 2   Deed of Trust recorded in the San Diego County Recorder’s Office on July 3, 2012, as
 3   document number 2012-0386586.
 4         3.     Attached as Exhibit 3 is a true and correct copy of the Assignment of
 5   Deed of Trust recorded in the San Diego County Recorder’s Office on February 14,
 6   2014, as document number 2014-0063110.
 7         4.     Attached as Exhibit 4 is a true and correct copy of the Corporate
 8   Assignment of Deed of Trust recorded in the San Diego County Recorder’s Office on
 9   September 7, 2016, as document number 2016-0466904.
10         5.     Attached as Exhibit 5 is a true and correct copy of the Corporate
11   Assignment of Deed of Trust recorded in the San Diego County Recorder’s Office on
12   September 7, 2016, as document number 2016-0466905.
13         6.     Attached as Exhibit 6 is a true and correct copy of the Assignment of
14   Deed of Trust recorded in the San Diego County Recorder’s Office on February 21,
15   2017, as document number 2017-0081521.
16         7.     Attached as Exhibit 7 is a true and correct copy of the Grantor Deed
17   recorded in the San Diego County Recorder’s Office on April 15, 2024, as document
18   number 2024-0092961.
19         8.     Attached as Exhibit 8 is a true and correct copy of the Grantor Deed
20   recorded in the San Diego County Recorder’s Office on June 26, 2024, as document
21   number 2024-0161271.
22         9.     Attached as Exhibit 9 is a true and correct copy of the Substitution of
23   Trustee recorded in the San Diego County Recorder’s Office on November 15, 2024,
24   as document number 2024-0318998.
25         10.    Attached as Exhibit 10 is a true and correct copy of the Notice of Default
26   and Election to Sell Under Deed of Trust recorded in the San Diego County
27   Recorder’s Office on November 15, 2024, as document number 2024-0318999.
28

                                                2
         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF LPP’S OPPOSITION TO EMERGENCY EX PARTE
     144561847v.1
                        Gallusz v. LPP Mortgage, Inc., Case No. 3:25-cv-00885-JLS-BLM
Case 3:25-cv-00885-JLS-BLM      Document 8-11       Filed 04/17/25   PageID.1085   Page
                                       3 of 3



 1         11.    Attached as Exhibit 11 is a true and correct copy of the Notice of
 2   Trustee’s Sale recorded in the San Diego County Recorder’s Office on March 17,
 3   2025, as document number 2025-0067791.
 4   Dated: April 17, 2025                          Respectfully submitted,
 5
                                                    TROUTMAN PEPPER LOCKE LLP
 6

 7
                                                    By: /s/ Regina J. McClendon
 8                                                         Regina J. McClendon
 9                                                         Meagan S. Tom
                                                    Attorneys for Defendant LPP Mortgage,
10                                                  Inc. f/k/a LPP Mortgage Ltd.
11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28

                                                3
         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF LPP’S OPPOSITION TO EMERGENCY EX PARTE
     144561847v.1
                        Gallusz v. LPP Mortgage, Inc., Case No. 3:25-cv-00885-JLS-BLM
